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           IN THE UNITED STATES COURT OF FEDERAL CLAIMS


APL MICROSCOPIC, LLC,

           Plaintiff,

v.                                               Case No.: 18-1851 C

                                                 Senior Judge Edward J. Damich

THE UNITED STATES OF AMERICA,

           Defendant.



                        OPPOSITION TO MOTION TO DISMISS




                                          JOEL B. ROTHMAN
                                          FL Bar No. 98220
                                          joel.rothman@sriplaw.com

                                          SRIPLAW
                                          21301 Powerline Road
                                          Suite 100
                                          Boca Raton, FL 33433
                                          561.404.4350 – Telephone
                                          561.404.4353 – Facsimile

                                          Counsel for Plaintiff APL Microscopic, LLC




                                        SRIPLAW
                 21301 POWERLINE ROAD, SUITE 100, BOCA RATON, FLORIDA 33433
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        Plaintiff APL MICROSCOPIC, LLC (“APL”), by and through its undersigned counsel,

hereby opposes the Defendant’s Motion to Dismiss (Doc. 13), and as grounds therefore states as

follows:

                                            INTRODUCTION

        The Government’s Motion to Dismiss should be denied. APL filed its complaint in this

action within three years of the last infringement by the Government of APL’s display right of its

copyrighted image on the NASA website. Therefore, the complaint complies with 28 U.S.C. §

1498(b). APL also sufficiently pled its entitlement to damages for infringement, including the

minimum statutory damages provided for in § 1498(b). For the reasons set forth below, the

motion to dismiss should be denied.

      THE GOVERNMENT INFRINGED BY VIOLATING APL’S DISPLAY RIGHT
          WITHIN THREE YEARS OF THE FILING OF THE COMPLAINT

        Visit NASA’s Spanish language website today at https://ciencia.nasa.gov/science-at-

nasa/2004/19aug_blood (Ex. 1 hereto), and – unless NASA has finally taken it down by the time

you get there -- you will find there displayed APL’s copyrighted image of a human embryonic

stem cell taken by Andrew Paul Leonard with an electron microscope, the same image that was

featured on the cover of Time Magazine on August 7, 2006.1 (Shown in Ex. 2 hereto). The same

image was displayed on NASA’s website on January 9, 2018 in Exhibit 2 to the original

complaint. (Doc. 1-2). The same image was displayed on NASA’s website on March 6, 2019 in

Exhibit 2 to the amended complaint. (Doc. 12-2). And the same image is displayed on NASA’s

website today (April 29, 2019) as can be seen in Exhibit 1 to this opposition.




1
 The only difference between the image at issue and the image on Time’s cover is colorization. The image on
Time’s cover was colorized pink with a green background. The image on NASA’s website is colorized purple with a
gold background. But the image is the same.
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           But the fact that the Government’s display of APL’s copyrighted image -- which began as

early as 2004 as evidenced by the dates of the NASA website articles shown in Exhibits 1, 3, and

4 hereto -- continues even to this day matters not to the Government. According to its motion,

because the Government’s infringement began more than three years prior to the filing of this

case, 28 U.S.C. § 1498(b)’s paragraph two bars all recovery, even if the Government’s

infringement continues unabated today. And, of course, since injunctive relief is unavailable to a

plaintiff suing the Government for infringement, the Government must think it can keep on

displaying APL’s copyrighted electron microscopic image of a human stem cell on the NASA

website for as long as Andrew Leonard lives and another 70 years thereafter2 without paying

APL a penny for the privilege. The Government is not correct.

           The owner of a copyright may bring a claim against anyone who violates one of the

“exclusive rights” protected by the Copyright Act, including “in the case of . . . pictorial, graphic,

or sculptural works, . . . to display the copyrighted work publicly.” 17 U.S.C. § 106(5), and 17

U.S.C. § 501(a). The displaying of copyrighted material on the internet constitutes an act of

infringement. See, e.g., Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1160 (9th Cir.

2007) (holding that “Google's communication of its stored thumbnail images directly infringe[d]

[the Plaintiffs] display right” under the Copyright Act). See also, Goldman v. Breitbart News

Network, LLC, 302 F. Supp. 3d 585 (S.D.N.Y. 2018) (denying summary judgment to defendants

and determining that the display of an image in a Twitter feed violated the copyright holder’s

display right).

           Here, acts of infringement alleged in the Amended Complaint include that “NASA …

displayed … the Work at issue in this case … without APL’s authorization in violation of 17

U.S.C. § 501.” (Doc. 12, ¶ 31). The Amended Complaint alleges that the Government infringed
2
    See 17 U.S.C. § 302(a) (duration of copyright is generally the life of the author plus 70 years).
                                                           2
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APL’s display right in violation of § 106(5) when it displayed APL’s image without its

authorization on its website on January 9, 2018 (as shown in Doc. 1-2), on March 6, 2019 (as

shown in Doc. 12-2), today (as shown in Ex. 1 hereto), and every day within the three years

before APL filed its complaint.

        In Wechsberg v. United States, this Court held that the “Plaintiff’s cause of action under

Section 1498(b) accrues as late as, and the statute of limitations therein begins to run from, the

time of the most recent act of infringement in a series of infringing acts.” 54 Fed. Cl. 158, 161

(2002) (emphasis added). Wechsberg rejected the same “narrow theory of the accrual date of a

copyright infringement action under Section 1498(b),” id., 54 Fed. Cl. at 163, that the

Government seeks to apply here. (Mot. at 7-8). The Government argues that it is the date that the

Government first began infringing that matters.3 The Government says that date was August 19,

2004, the date of publication shown on the NASA article attached as Exhibit 2 to the Amended

Complaint. The government asserts that it is that date from which § 1498(b)’s three years should

be measured. Not correct. Wechsberg correctly held that the three years runs from the most

recent act of infringement. The most recent act of infringement was today.

        The word “infringement” in the Copyright Act means more than just a violation of the

reproduction right in § 106(1). As noted above, infringement is the violation of any of the

exclusive rights reserved to the copyright owner in § 106, including the copyright owner’s

exclusive display right in § 106(5). The Government’s application of paragraph two of § 1498(b)

misconstrues the term “infringement” in the statute. The Government construes the term

“infringement” in paragraph two of § 1498(b) too narrowly. The Government relies upon

decisions in other cases that determined a plaintiff’s failure to file suit against the Government


3
 See, Government’s Motion at 8 citing Wechsberg v. United States, 54 Fed. Cl. 158 (2002); Cohen v. United States,
94 Fed. Cl. 165 (2010).
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within three years of the alleged infringement was fatal under § 1498(b) (Mot. at 6), but the facts

in those cases did not show a violation of any of the copyright owner’s exclusive rights within

three years of the filing of the complaint. See, e.g., Aviation Software, Inc. v. United States, 101

Fed. Cl. 656, 660 (2011) (complaint based on newly discovered evidence dismissed where

copyright holder’s prior complaints were “devoid of any allegations that [L-3] has reproduced

the source code, distributed the source code, by sale or otherwise, or publicly disclosed the

source code.”)

       The most recent act of infringement in this case happened today when plaintiff’s counsel

went to NASA’s website at https://ciencia.nasa.gov/science-at-nasa/2004/19aug_blood and

NASA displayed APL’s copyrighted image without authorization in violation of 17 U.S.C. §

106(5), and 17 U.S.C. § 501(a). APL concedes that the plain language of § 1498(b) prevents

APL from recovering for violations of its display right that occurred more than three years prior

to the filing of the complaint in this case. But because APL’s display right was violated within

three years of the filing of this case, and its display right will continue to be violated as long as

APL’s copyrighted image is displayed on NASA’s website, this suit was filed timely.

                   THE COMPLAINT IS SUFFICIENT AND PLAUSIBLE

       Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain statement of the

claim showing that the pleader is entitled to relief,” in order to “give the defendant fair notice of

what the … claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 555 (2007). To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a complaint

must contain sufficient factual matter, accepted as true, to “state a claim to relief that is plausible

on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A claim has facial plausibility when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged. Id. The plausibility standard is not akin to a
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“probability requirement,” but it asks for more than a sheer possibility that a defendant has acted

unlawfully. Id.

          To demonstrate a prima facie case of copyright infringement in a complaint, a plaintiff

must allege two elements, ownership of a valid copyright and copying. Feist Publ’ns, Inc. v.

Rural Tel. Serv. Co., Inc., 499 U.S. 340, 361 (1991). “The word ‘copying’ is shorthand for the

infringement of any of the copyright owners’ five exclusive rights’ under Section 106. A&M

Records v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001). Other courts have held that in

copyright infringement cases, a plaintiff need only satisfy the requirements of Rule 8(a)(2) by

including a “short and plain statement of the claim showing that the pleader is entitled to relief.”

Prof’l LED Lighting, Ltd. v. Aadyn Tech, LLC, 2015 U.S. Dist. Lexis 19410 (S.D. Fla. 2015).

          APL’s amended complaint satisfies the requirements of Rule 8 and Twombly and Iqbal.

Yet the Government complains that the amended complaint fails to sufficiently allege APL’s

damages for which the Government demands a bill of particulars.4 APL has searched but found

no justification for the detailed pleading of damages the Government demands. None of the cases

the Government cites are copyright cases; none of the cases cited by the Government have any

application to this action for which APL may obtain “recovery of his reasonable and entire

compensation as damages for such infringement, including the minimum statutory damages as

set forth in section 504(c) of title 17, United States Code.” 28 U.S.C. § 1498(b). The information


4
    The Government complains:

          The Government remains unable to ascertain any information about what, if any, actual damage
          APL has suffered. Noticeably absent is any information regarding the nature of the actual damage,
          the scope of the actual damage, or how the damage occurred and when. Further, the Amended
          Complaint is similarly devoid of any information demonstrating how the actual damage APL has
          allegedly suffered is directly related to the Government’s conduct. APL’s complaint is similarly
          devoid of any factual allegation supporting its allegation of NASA’s benefit from the alleged
          infringement.

(Mot. at 11-12).
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on APL’s damages will be produced in discovery. If this Court requires more detailed pleading

of damages, APL respectfully requests leave to do so in detail which it can easily do in an

amended complaint.

       WHEREFORE, Plaintiff APL MICROSCOPIC, INC. prays this Honorable Court deny

the motion to dismiss, and for such other and further relief as to this Court deems just and proper

in the premises.

Dated: April 29, 2019                         Respectfully submitted,

                                              /s/ Joel B. Rothman
                                              JOEL B. ROTHMAN
                                              FL Bar No. 98220
                                              joel.rothman@sriplaw.com

                                              SRIPLAW
                                              21301 Powerline Road, Suite 100
                                              Boca Raton, FL 33433
                                              561.404.4350 – Telephone
                                              561.404.4353 – Facsimile

                                              Counsel for Plaintiff APL Microscopic, LLC


                                 CERTIFICATE OF SERVICE

        The undersigned does hereby certify that on April 29, 2019, a true and correct copy of the
foregoing document was served by electronic mail by the Court’s CM/ECF System to all parties
listed below on the Service List.

                                              /s/Joel B. Rothman
                                              Joel B. Rothman

                                         SERVICE LIST

Mr. Patrick C. Holvey
Department of Justice
2200 L Street, NW, Room 8512
Washington, DC 20005
patrick.c.holvey@usdoj.gov
Attorney for Defendants


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                                            SRIPLAW
                     21301 POWERLINE ROAD, SUITE 100, BOCA RATON, FLORIDA 33433
